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                           EXHIBIT A

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Case:
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       1:17-cv-05428Document
                     Document#:#:340-2
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Case:
 Case:1:17-cv-05428
       1:17-cv-05428Document
                     Document#:#:340-2
                                  12-1 Filed: 08/31/22
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                                                                          #:132
 Case:1:17-cv-05428
Case:  1:17-cv-05428Document
                     Document#:#:340-2
                                  12-1 Filed: 08/31/22
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                                                                          #:6839
 Case:1:17-cv-05428
Case:  1:17-cv-05428Document
                     Document#:#:340-2
                                  12-1 Filed: 08/31/22
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                                                                          #:6840
Case:
 Case:1:17-cv-05428
       1:17-cv-05428Document
                     Document#:#:340-2
                                  12-1 Filed: 08/31/22
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